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     Federal Defender
 2   Lexi Negin, D.C. Bar #446153
     Assistant Federal Defender
 3   801 I Street, 3rd. Floor
     Sacramento, California 95814
 4   Telephone: (916) 498-5700
 5   Attorney for Defendant
     JESUS SOTO-FARIAS
 6
 7                                  IN THE UNITED STATES DISTRICT COURT
 8                                 FOR THE EASTERN DISTRICT OF CALIFORNIA
 9
     UNITED STATES OF AMERICA,                         )   CASE NO. CR-S-07-497 LKK
10                                                     )
                             Plaintiff,                )
11                                                     )   STIPULATION AND ORDER TO CONTINUE
             v.                                        )   STATUS HEARING AND TO EXCLUDE TIME
12                                                     )   PURSUANT TO THE SPEEDY TRIAL ACT
                                                       )
13   JESUS SOTO-FARIAS                                 )
     NICHOLAS MARTINEZ-FERNANDEZ                       )   JUDGE: Lawrence K. Karlton
14                                                     )
                                                       )
15                                                     )
                       Defendants.                     )
16   _______________________________                   )
17          This case is currently scheduled for a status hearing on April 1, 2008. The attorneys for all parties
18   have conferred and agree that additional time is needed for defense preparation and meetings between the
19   parties with the goal being to resolve the case by way of a disposition.
20          The parties, through their respective counsel, hereby stipulate and agree that the status conference
21   scheduled in this case for April 1, 2008, be continued until April 29, 2008. In addition, the parties stipulate
22   that the time period from April 1, 2008, to April 29, 2008, be excluded under the Speedy Trial Act (18
23   U.S.C. §3161(h)(8)(B)(iv) and Local Code T4), due to the need to provide defense counsel with the
24   reasonable time to prepare.
25          A proposed order is attached and lodged separately for the court's convenience.
26
27
28                                                         1
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 1
     DATED:March 31, 2008
 2
 3                       Respectfully submitted,
 4   McGREGOR W. SCOTT                             DANIEL BRODERICK
     United States Attorney                        Federal Defender
 5
 6
     /s/Lexi Negin for Michael Beckwith                    /s/ Lexi Negin
 7   MICHAEL BECKWITH                              LEXI NEGIN
     Assistant U.S. Attorney                       Assistant Federal Defender
 8   Attorney for United States                    Attorney for Jesus Soto-Farias
 9
10   /s/ Lexi Negin for John Manning
     JOHN MANNING
11   Attorney for Nicolas Martinez-Fernandez
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                 Case 2:07-cr-00497-LKK Document 43 Filed 03/31/08 Page 3 of 3


 1                                 IN THE UNITED STATES DISTRICT COURT
 2                              FOR THE EASTERN DISTRICT OF CALIFORNIA
 3
     UNITED STATES OF AMERICA,                       )   CASE NO. CR-S-07-497 LKK
 4                                                   )
                           Plaintiff,                )
 5                                                   )
            v.                                       )
 6                                                   )   ORDER CONTINUING STATUS HEARING
                                                     )   AND EXCLUDING TIME PURSUANT TO THE
 7   JESUS SOTO-FARIAS                               )   SPEEDY TRIAL ACT
     NICHOLAS MARTINEZ-FERNANDEZ                     )
 8                                                   )
                                                     )
 9                                                   )
                       Defendants.                   )
10   _______________________________                 )
11
            For the reasons set forth in the stipulation of the parties, filed on March 31, 2008, IT IS HEREBY
12
     ORDERED that the status conference currently scheduled for April 1, 2008, be vacated and that the case
13
     be set for April 29, 2008 at 9:30 a.m. The Court finds that the ends of justice to be served by granting a
14
     continuance outweigh the best interests of the public and the defendant in a speedy trial. Accordingly, IT
15
     IS HEREBY ORDERED that, for the reasons stated in the parties’ March 31, 2008 stipulation, the time
16
     under the Speedy Trial Act is excluded from April 1, 2008, through April 29, 2008, pursuant to 18 U.S.C.
17
     §3161(h)(8)(B)(iv) and Local Code T4, due to the need to provide defense counsel with the reasonable
18
     time to prepare.
19
20
     Dated: March 31, 2008
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28                                                         2
